                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 OSCAR SMITH,                                     )
                                                  )
     Plaintiff,                                   )
                                                  )     CAPITAL CASE
v.                                                )
                                                  )     Case No. 3:22-cv-00280
BILL LEE, in his official capacity as             )     Judge Aleta A. Trauger
Governor of the State of Tennessee,               )
                                                  )     EXECUTION SCHEDULED:
HERBERT SLATERY, in his official                  )
capacity as the Attorney General of the           )     April 21, 2022
State of Tennessee,                               )
                                                  )
LISA HELTON, in her official capacity             )
as the Interim Commissioner of the                )
Tennessee Department of Correction,               )
                                                  )
TONY MAYS, in his official capacity as            )
Warden, Riverbend Maximum Security                )
Institution,                                      )
                                                  )
     Defendants.                                  )


                                             ORDER

       Plaintiff Oscar Smith, who is scheduled to be executed by the State of Tennessee on April

21, 2022, has filed a Complaint for Injunctive Relief, requesting a preliminary and permanent

injunction barring the defendants from executing him “until such time as the State of Tennessee

provides a constitutionally adequate hearing on the merits of his claim of actual innocence and

entitlement to relief under the DNA Act (Tenn. Code Ann. § 40-30-301 et seq.) and/or Tennessee’s

Motion to Reopen statute (Tenn. Code Ann. § 40-30-117).” (Doc. No. 1, at 11–12.) Now before

the court is Smith’s Emergency Motion for Temporary Restraining Order (“TRO Motion”) (Doc.

No. 3), in which he asks this court to restrain the defendants from executing him on April 21, 2022,




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“to afford Mr. Smith time to litigate his Section 1983 lawsuit.” (Id. at 1.) The defendants received

notice of the Complaint and TRO Motion and, at the court’s directive, filed a Response in

Opposition to the TRO Motion (Doc. No. 11), 1 as a result of which the court construes the TRO

Motion as a motion for a preliminary injunction under Rule 65(a) of the Federal Rules of Civil

Procedure. The plaintiff filed a Reply. (Doc. No. 13.)

       For the reasons set forth in the accompanying Memorandum, the plaintiff’s motion (Doc.

No. 3) is hereby DENIED.

       It is so ORDERED.




                                              ALETA A. TRAUGER
                                              United States District Judge




       1
         The defendants note that they make a limited appearance in this case solely to comply
with the court’s order, but they are not yet subject to the court’s jurisdiction, having not received
proper service under Rule 4 of the Federal Rules of Civil Procedure. (Doc. No. 11, at 2 n.2.)



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